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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION




 GUY J. SEAMAN,                            )
                                           )
              Plaintiff,                   )
                                           )            CIVIL ACTION NO.
 VS.                                       )
                                           )            3:25-CV-0775-G-BK
 JUDGE MARY BROWN, ET AL.,                 )
                                           )
              Defendants.                  )




         ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
    RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

 recommendation in this case. Objections were filed. The District Court reviewed de

 novo those portions of the proposed findings, conclusions, and recommendation to

 which objection was made, and reviewed the remaining proposed findings,

 conclusions, and recommendation for plain error. Finding no error, the court

 ACCEPTS the Findings, Conclusions, and Recommendation of the United States

 Magistrate Judge.

       SO ORDERED.

 April 28, 2025.

                                        ___________________________________
                                        A. JOE FISH
                                        Senior United States District Judge
